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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-CR-00334-CMA-1

UNITED STATES OF AMERICA,

        Plaintiff,

v.

1. MARCO CASTRO-CRUZ,
     a/k/a Guero,

     Defendant.


             ENTRY OF APPEARANCE AS SPECIAL ATTORNEY
                      TO THE ATTORNEY GENERAL
______________________________________________________________________

        Assistant United States Attorney Guy Till respectfully enters his appearance in

the above captioned and styled case as Special Attorney to the United States Attorney

General pursuant to 28 U.S.C. § 515, having been appointed in the matter of cases

concerning the distribution of heroin resulting in the death of Mr. Kaleb Skog in 2013.

The attached copy of the June 20, 2017 letter from Valerie D. Mulcahy, Assistant

Director, Human Resources Staff, Operations Division, Executive Office for United

States Attorneys, U.S. Department of Justice, is filed with the Clerk of the Court,

indicating the continued extension of AUSA Guy Till’s appointment.

        Respectfully submitted this 30th day of January, 2018.

                            ROBERT C. TROYER
                            United States Attorney

                            BY: s/ Guy Till
                            GUY TILL
                            Special Attorney to the United States Attorney General
                            Assistant United States Attorney
                            United States Attorney’s Office
                            1801 California Street, #1600
                            Denver, CO 80202
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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of January, 2018, I electronically filed the
foregoing ENTRY OF APPEARANCE AS SPECIAL ATTORNEY TO THE ATTORNEY
GENERAL with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to all counsel of record in this case.


                                          s/Michelle Trujillo
                                          MICHELLE TRUJILLO
                                          Legal Assistant
                                          U.S. Attorney’s Office
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                                          Denver, CO 80202
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